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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CRISHON HAVARD, on behalf of her son                  )
and next friend, ARIEL HAVARD,                        )
                                                      )       Case No.
                       Plaintiff,                     )
                                                      )
v.                                                    )       Judge
                                                      )
POLICE OFFICER ROBINSON,                              )       Magistrate Judge
Individually, and                                     )
CHICAGO BOARD OF EDUCATION/                           )
CHICAGO PUBLIC SCHOOLS,                               )       Jury Demand
                                                      )
                       Defendants.                    )

                                        COMPLAINT AT LAW

       NOW COMES the Plaintiff, CRISHON HAVARD, on behalf of her son and next friend,

ARIEL HAVARD, by and through her attorney, David S. Lipschultz of Golberg Weisman and

Cairo, and in complaining against the Defendants, POLICE OFFICER ROBINSON,

Individually, and CHICAGO BOARD OF EDUCATION/CHICAGO PUBLIC SCHOOLS,

states as follows:

                                    JURISDICTION AND VENUE

       1.      This action is brought pursuant to the Laws of the United States Constitution,

specifically, 42 U.S.C. § 1983 and § 1988, and the laws of the State of Illinois, to redress

deprivations of the civil rights of the Ariel Havard, accomplished by acts and/or omissions of the

Defendants committed under color of law.

       2.      Jurisdiction is based on Title 28 U.S.C. § 1343 and § 1331.

       3.      Venue is proper in this judicial court pursuant to 28 U.S.C. §1391 as the acts

complained of arose in this district.




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                                                PARTIES

       4.      The Plaintiff, CRISHON HAVARD, is a United States citizen and permanent

resident of the State of Illinois. Ms. Havard is the mother of ARIEL HAVARD, a minor.

       5.      ARIEL HAVARD (hereinafter “Ariel”), a minor, is a United States citizen and

permanent resident of the State of Illinois.

       6.      Defendant, OFFICER ROBINSON, (hereinafter “Robinson”) was at all relevant

times, duly appointed security officer of the Defendant, CHICAGO BOARD OF EDUCATION/

THE CHICAGO PUBLIC SCHOOLS, and at all relevant times acting within the scope of his

employment and under color of law.

       7.      The Defendant, CHICAGO BOARD OF EDUCATION/THE CHICAGO

PUBLIC SCHOOLS (hereinafter “BOARD”), was at all relevant times a publicly funded agency,

duly incorporated under the laws of the State of Illinois, and is the employer and principal of

Defendant OFFICER ROBINSON.



                                       STATEMENT OF FACTS

       8.      On October 23, 2013, at approximately 3:15 p.m., Ariel was leaving South Shore

College Prep through the doors located at the north end of the building.

       9.      At the same time and place, OFFICER ROBINSON was entering the building

using the same door.

       10.     Officer Robinson grabbed Ariel forcefully by the front of the neck at his throat

and violently shoved Ariel into a door, causing injuries to Ariel.

       11.     Officer Robinson threatened to arrest Ariel if he didn’t leave the building in five

seconds even though Ariel was there lawfully.




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                                        COUNT I
                       SECTION 1983 UNLAWFUL SEARCH AND SEIZURE
                               VERSUS OFFICER ROBINSON

       12.      Plaintiff, CRISHON HAVARD, hereby re- alleges and incorporates the

allegations of paragraphs 1 through 11 as her respective allegations of allegations of paragraph

12 of Count I as though fully forth herein.

       13.      Officer Robinson unlawfully interfered with the Plaintiff’s freedom of movement.

       14.      During the time Plaintiff was detained he was in fear.

       15.      Officer Robinson did not have probable cause to seize the Plaintiff.

       16.      Said actions of Officer Robinson were intentional, willful and wanton.

       17.      Said actions of Officer Robinson violated the Plaintiff’s Fourth and Fourteenth

Amendment Rights and were in violation of the rights protected by 42 U.S.C. § 1983.

       18.      As a direct and proximate consequence of said unlawful conduct of Officer

Robinson, Ariel suffered violations of his constitutional rights, loss of liberty, emotional anxiety,

fear, and pain and suffering.

       WHEREFORE, the Plaintiff, CRISHON HAVARD, prays for judgment, compensatory

damages, punitive damages, and attorney’s fees and costs against Defendant OFFICER

ROBINSON.



                                           COUNT II
                                 SECTION 1983 EXCESSIVE FORCE
                                   VERSUS OFFICER ROBINSON

       19.      Plaintiff ARIEL HAVARD re- alleges and incorporates the allegations of

paragraphs 1 through 11 as his respective allegations of paragraph 19 of Count II as though fully

forth herein.




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        20.      The force used by Officer Robinson upon Ariel was unreasonable, unprovoked,

unnecessary and excessive.

        21.      As a result of the actions and inactions of Officer Robinson, Ariel was injured.

        22.      Said actions of Officer Robinson were intentional, willful and wanton.

        23.      As a direct and proximate consequence of said conduct of Officer Robinson, Ariel

suffered violations of his constitutional rights, physical injuries, emotional anxiety, fear, and pain

and suffering.

        WHEREFORE, the Plaintiff, CRISHON HAVARD, prays for judgment, compensatory

damages, punitive damages, and attorney’s fees and costs against Defendant OFFICER

ROBINSON.



                                          COUNT III
                            ILLINOIS LAW CLAIM- INDEMNIFICATION
                            VERSUS CHICAGO BOARD OF EDUCATION/
                                  CHICAGO PUBLIC SCHOOLS

        24.      Plaintiff, CRISHON HAVARD, re-alleges and incorporates the allegations of

paragraphs 1 through 23 as his respective allegations of paragraph 24 of Count III as though fully

forth herein.

        25.      Illinois law provides that public entities are directed to pay any tort judgment for

compensatory damages for which employees are liable within the scope of their employment

activities.

        26.      Officer Robinson is or was an employee of The Chicago Board of Education/The

Chicago Public Schools and acted within the scope of his employment in committing the

misconduct described herein.




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       WHEREFORE, the Plaintiff, CRISHON HAVARD, prays that should this Court enter

judgment in her favor and against OFFICER ROBINSON, Chicago Board of Education/Chicago

Public Schools should be ordered to pay the Plaintiff any judgment for compensatory damages

obtained against Officer Robinson.

                                             JURY DEMAND

       The Plaintiff requests a trial by jury.

                                                     Respectfully Submitted,



                                                     /s/ David S. Lipschultz



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